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                                       UNITED STATES DISTRICT COURT
                                       FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                             )
                                                      )
v.                                                    )
                                                      )        Crim. No. 17-201-01 (ABJ)
PAUL J. MANAFORT, JR.,                                )
                                                      )
                  Defendant.                          )


  DEFENDANT PAUL J. MANAFORT, JR.’S REPLY TO THE GOVERNMENT’S
MEMORANDUM IN OPPOSITION TO HIS MOTION TO SUPPRESS EVIDENCE AND
  ALL FRUITS THEREOF RELATING TO THE SEARCH OF HIS RESIDENCE
                LOCATED IN ALEXANDRIA, VIRGINIA


         Defendant Paul J. Manafort, Jr., by and through counsel, hereby submits his reply to the

Special Counsel’s memorandum in opposition to his motion to suppress evidence and all fruits

thereof relating to the search of his residence located in Alexandria, Virginia (the “Manafort

Home”).

         The Fourth Amendment of the Constitution guarantees that one’s house will not be

searched and that the possessions there will not be seized unless a warrant—particularly describing

the items to be searched and seized and supported by probable cause that links those items to

purported criminal activity—is issued by a judge. It goes without saying that personal computers,

telephones, electronic devices and other storage media are pervasive in our society, maintained in

virtually every American home. 1 Indeed, it would be hard to find a home where residents do not

store almost everything, from mundane information to their most private medical and financial

data, on electronic devices. Virtually every computer contains such data, as do smart phones, and


1
 See, e.g., Quentin Fortrell, “Consumers sitting on $9 billion in old iPhones,” MarketWatch (Feb. 23, 2013) (available
at https://www.marketwatch.com/story/consumers-hoard-9-billion-in-old-iphones-2013-02-15) (most “American
consumers say they have two or more unused cell phones in their household, according to a new survey”).

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electronic devices can monitor what residents say and do, and can control music, lighting, and

climate, to name a few things. In these modern times, American homes are electronic.

         Based on information that was obtained from a former DMP employee, the government

learned that Mr. Manafort had a desktop computer in his home office, used electronic media in his

business, and kept a drawer of no-longer-used electronic equipment (which he donated to charity)

at his prior residence. (Dkt. # 284 at 13). The Special Counsel’s position in this case is that law

enforcement officers can present allegations of some type of criminality (unrelated to the Russian

collusion/Trump campaign investigation that spurred his appointment), secure a warrant to search

for records that relate to a laundry list of federal criminal statutes, and search and seize every

computer, electronic device, and media storage device in the defendant’s home, regardless of

whether the equipment even belongs to the defendant. The Special Counsel’s search of the

Manafort Home violated the Fourth Amendment, and the fruits of the overbroad and unlawful

search should be suppressed.

         While the Special Counsel concedes that the Fourth Amendment’s “particularity

requirement” 2 was designed “to prevent general searches,” (Dkt. # 284 at 7), the government

nevertheless contends that the warrant permitted the agents to seize virtually every electronic

device in the Manafort Home without any regard to whether the “[c]omputers or storage media

[were] used as a means to commit the Subject Offenses.” (Dkt. # 284 at 10). This is the kind of

general search and seizure that the Fourth Amendment forbids. 3


2
  The FBI Affidavit (containing more information than the warrant) was neither attached to nor incorporated into the
warrant, and the Fourth Amendment’s particularity requirement must therefore be satisfied “in the warrant, not in the
supporting documents.” Groh v. Ramirez, 540 U.S. 551, 557 (2004) (emphasis added).

3
  United States v. Burroughs, 905 F. Supp.2d 297 (D.D.C. 2012), cited by the Special Counsel, in fact supports the
defendant’s position that the warrant lacked sufficient particularity. (Dkt. # 284 at 10, n.6). In Burroughs, the warrant
identified “cellphones” and an “iPod Shuffle device,” although it did not identify the color, size and type of the phones
or the color of the iPod Shuffle. Id. at 307. Here, “cellphones” and “iPods” were not even identified, leaving the
agents to use their imaginations as to what “electronic devices” and “media storage” they could seize.

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         Indeed, the Special Counsel contends that the “Apple iPod” or “iPod Touch” could be

seized even though there were no allegations in the affidavit that such devices were ever utilized

in Mr. Manafort’s business. Id. at 17. The seizing agents did not stop there, however. The

Manafort family’s personal effects were rummaged through and seized, including the following

items:

            1. Nikon Cool Pics FN-1 camera

            2. Go Pro Hero 2 camera

            3. Nikon D-7000 camera

            4. Casio EXILIM camera

            5. Sony camera

            6. Nikon D-90 camera

            7. Nikon I camera

            8. Nikon Cool Pics S-9700

            9. Sony Handicam

            10. Panasonic video camera

            11. Casio camera

            12. Sony Cyber Shot camera

            13. Canon Power Shot camera

         What possible relevance these items would have had to the authorized investigation is

beyond imagination. Yet, the Special Counsel takes the position that any electronic device

“capable of storing evidence”—and regardless of whether it was related to the limited information

received from the former DMP employee—was within the scope of the warrant and could be

seized. Id. But this position is without merit. Allegations that Mr. Manafort had a desktop



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computer, “made widespread use of electronic media” in his business—like every business

person—and held on to old electronic equipment at his prior residence until he could donate it,

even if coupled with an allegation that Mr. Manafort was engaged in criminal activity, cannot

establish “a nexus . . . between the item to be seized and criminal behavior.” United States v.

Griffith, 867 F.3d 1265, 1271 (D.C. Cir. 2017).

       The Special Counsel and the seizing agents had no reasonable basis to believe that all

“computers, electronic devices, and storage media” would be pertinent to the investigation;

nevertheless, they unlawfully chose to seize virtually every such item without regard to Mr.

Manafort’s Fourth Amendment rights. Because it was unreasonable, United States v. Leon, 468

U.S. 897 (1984), offers no escape to the Special Counsel nor the agents.

Dated: May 4, 2018                                    Respectfully submitted,


                                                      __/s/____________________________
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